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                                    1393 DISTRICT COURT
                    IN THE UNITED STATES
                     FOR THE EASTERN DISTRICT OF TEXAS
                              SHERMAN DIVISION

 UNITED STATES OF AMERICA                       §
                                                §
                                                §       CRIMINAL NO. 4:98CR14(30)
 v.                                             §
                                                §
 DAVID ARTHUR WILSON                            §

                            REPORT AND RECOMMENDATION
                         OF UNITED STATES MAGISTRATE JUDGE

        Pending before the Court is the request for revocation of Defendant’s supervised release.

 After the District Court referred the matter to this Court for a report and recommendation, the Court

 conducted a hearing on October 28, 2009 to determine whether the Defendant violated his supervised

 release. The Defendant was represented by Frank Henderson. The Government was represented by

 Heather Rattan.

        On October 16, 1998, the Defendant was sentenced by the Honorable Paul Brown, United

 States District Judge, to 151 months imprisonment followed by a 3-year term of supervised release

 for the offenses of possession with intent to distribute cocaine base and distribution of cocaine base.

 This case was re-assigned to the Honorable Michael H. Schneider on November 14, 2006.

 Defendant began his term of supervision on March 17, 2008.

        On August 31, 2009, the U.S. Probation Officer filed a Petition for Warrant or Summons for

 Offender under Supervision (Dkt. 1238). The petition asserts that Defendant violated the following

 conditions of supervision: (1) Defendant shall not commit another federal, state, or local crime; (2)

 Defendant shall not illegally possess a controlled substance; (3) Defendant shall not associate with

 any persons engaged in criminal activity and shall not associate with any person convicted of a




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 felony unless granted permission to do so by the probation officer.

        The petition alleges that Defendant committed the following violations: (1) on November 15,

 2008, Defendant was arrested by Dallas Police Department for the offense of Manufacture/Delivery

 of Cocaine and Possession of Marijuana; (2) on August 7, 2009, Dallas County Criminal District

 Court 3 entered a disposition of non-adjudication of guilt for the felony offense of possession of a

 controlled substance with intent to deliver and Defendant pleaded guilty before the Criminal County

 Court 4 for the misdemeanor offense of possession of marijuana, and Defendant was sentenced to

 five years deferred adjudication probation for the possession of a controlled substance with intent

 to deliver, 30 days jail for the possession of marijuana and has been released from the custody of the

 Dallas County Jail; (3) on November 15, 2008, at the time Defendant was arrested, the following

 parties were also in the residence and were arrested: Angela Williams, Daviana Wilson, Jalessa

 Williams, and Jeronica Dupree.

        At the hearing, Defendant entered a plea of true to the alleged violations. The Court finds

 Defendant violated the terms of his supervised release. The Court further finds that Defendant’s

 supervised release should be revoked. Defendant has waived his right to allocute before the district

 judge and his right to object to the report and recommendation of this Court.

        Defendant’s counsel also offered a statement to the Court regarding the proposed sentence.

                                      RECOMMENDATION

        Having heard the arguments of counsel and statement of Defendant, the Court recommends

 that the District Court revoke the Defendant’s supervised release. Pursuant to the Sentencing

 Reform Act of 1984, the Court recommends that the Defendant be committed to the custody of the


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     Bureau of Prisons to be imprisoned for a term of twenty four (24) months, with no supervised release

     to follow.

             SIGNED this 4th day of November, 2009.

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                                                     ____________________________________
                                                     DON D. BUSH
                                                     UNITED STATES MAGISTRATE JUDGE




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